JS 44 (Rev. 08/18)                                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating fire civil docket sheet. (SEE INSTRUCTIONS ON NEXT PACE OF TH/SFORM    b

1. (a) PLAINTIFFS                                                                                       DEFENDANTS

         ha j        If I                   'A
                                                      j
                                                                                                           91              ,-7   e     47 ' / erre -e
   (b) County of Residence of First Listed Plaintiff /V ~A 11.1-/'4
                                                                 o ___. C
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                                                                                                        County of Residence of First Listed Defendant
                          (EXCEPTINU.S. PLAIAMPFCASES)                                                                      (IN U.S. PLAINTIFF CASES ONL)9
                                                                                                        NOTE: 1N LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                THE TRACT OF LAND INVOLVED.
               '00' '
                    `o      '2
   (C) A omeys (Finn Nanre, .4ddress, and Tei hane Numbar)                                               Attorneys (If Known)
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                                 ~4v 3         7 0 0 -5-                     7-P
11. BASIS OF JURISDICTION (Place an ,x" In one Box only)                                  111. CITIZENSHIP OF PRINCIPAL PARTIES (Place on •X" in OneBoxfbr Plaintiff
                                                                                                    (For Diversity Cases Only)                                    and One Bar jar Defendant)
O1     US. Govemment               O 3 Federal Question                                                                          PTF DEF                                         PTF      DEF
         Plaintiff                        (US. Government Not a Party)                         Citizen of This State               1  0 I Incorporated ar Principal Place         74      -04
                                                                                                                                               ofBoslness in This State

O2     U.S. Govemmcnt              ~'4 Diversity                                               Citi zen of Another.State         O 2 ~2 , Incorporated and Principal Place         D 5 7 5
         Defendant                IX      (Indlcale Citizenship of Parties In Item 1(1)                                                         of Business It Another State

                                                                                               Citizen or Subject of a           03     0 3 Foreign Nation                         0 6 06
                                                                                                 a,,—i— r',,,,,,n„
IV    NATURR (1T+ RI ITT /Pi-.                                                                                                           Click (sere for: Nature of Suh Code Deserintions.
                                                                                                                                            amumuma                                               t
0 110 Insurance                     PERSONAI. INJURY            PERSONAL INJURY ' O 625 Drug Related Seizure           O 422 Appeal 28 USC 158                   O 375 False Claims Act
O 120 Marine                     O 310 Airplane              O 365 Personal Injury -           of Property 21 USC 881 0 423 Withdrawal                           O 376 Qut 7•am (31 USC
0 l30 Miiler Act                 0 315 Airplane Product              Product Liability O 690 Other                            28 USC 157                                3729(a))
0 140 Negotiable Instrument              Liability           0 367 Health Can;/                                                                                  O 400 State Reapportionment
Cl 150 Recovery of Overpayment 0320 Assault, Libel&                 Pharmaceutical                                                     s                         0410Antitrust
       & Enforcement ofJudgment          Slander                    Personal Injury                                    0 820 Copyrights                          0 430 Banks and Banking
0 151 Medicare Act               0 330 Federal Finployers'          Product Liability                                  0 830 Patent                              0 450 Commerce
0 152 Recovery of Defaulted              Liability           0 368 Asbestos Personal                                   0 835 Patent - Abbreviated                0 460 Deportation
       Student Loans             0 340 Marina                       Injury Product                                            New Drug Application               0 470 Racketeer Influenced and
       (Excludes Vcterens)       0 345 Marine Product               Liability                                          0 840 Trademark                                  Corrupt Organizations
0 153 Recovery of Overpayment            Liability             PERSONAL PROPERTY SWA&MUffam?F::                                                                  0 480 Consumer Credit
       of Veteran's Benefits     0 350 Motor Vehicle            370 Other Fraud        7 710 Fair Labor Standards      O 861 HIA (13958)                         0 485 Telephone Consumer
O 160 Stockholders' Suits        0 355 Motor Vehicle         0 371 Truth in Lending            Act                     0 862 Black Lung (923)                            Protection Act
0 190 Other Contract                    Product Liability    0 380 Other Personal      0 720 Labor/Management          0 863 DIWC/DIWW (405(8))                  O 490 Cable/Sat TV
0 195 Contract Product Liability 0 360 Other Personal               Property Damage            Relations               0 864 SSID Title XVI                      0 850 Securitics/Commaditics/
0 196 Franchise                         Injury               0 385 Property Damage     0 740 Railway Labor Act         0 865 RSI (405(8))                               Exchange
                                 0 362 Personal Injury -            Product Liability  Cl 751 Family and Medical                                                 0 890 Other Statutory Actlorn
                                        Medical Malpractice                                    Leave Act                                                         0 891 Agriculture] Acts
     =                                                                                 O 790 Other Labor Litigation    -                                         0 893 Environmental Matters
0 210 Land Condemnation          0 440 Other Civil Rights       Habeas Corpus;         0 791 Employee Retirement       0 870 Taxes (U.S, Plaintiff               0 895 Freedom of (nfiermniion
0 220 Foreclosure                0 441 Voting                0 463 Alien Detainee             Income Security Act             or Defendant)                              Act
0 230 Rent Lease & Ejectment     O 442 Ernployment           0 510 Motions to Vacate                                   0 871 IRS—Tlrird Party                    0 896 Arbitration
O 240 Torts to Land              0 443 Housing/                     Sentence                                                  26 USC 7609                        0 899 Administrative Procedure
0 245 Tort Product Liability            Accommodations       O 530 General                                                                                              Act/Review or Appeal of
0 290 All Other Real Property    O 445 Amer.w/Disabilities - 0 535 Death Penalty                                                                                        Agency Decision
                                        Employrnont             Other:                 0462 Naturalization Application                                           0 950 Constitutionality of
                                 0 446 Amer. w/Disabilities- 0 540 Mandamus & Other    0 465 Other Itmnigration                                                          State Statutes
                                        Other                0 550 Civil Rights               Actions
                                 0 448 Education             0 555 Prison Condition
                                                             0 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confincnnent

V. ORIGIN (Place an •X' in One Bar only)
    Original    0 2 Removed from                      O3       Remanded from              0 4 Reinstated or          0 5 Transferred from       0 6 Multidistriet           0 8 Multidistrict
    Proceeding        State Court                              Appellate Court.                Reopened                   Another District          Litigation -                 Litigation -
                                                                                                                     (specify)                       Transfer                   Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not ctre furisdlctiond statutes unless diversify):

VI. CAUSE OF ACTION Brief description of cause:                                      ~.                                                                             ✓   C


VII. REQUESTED IN     `'CHECK IF THIS IS A CLASS                                          N       DEMAND $                                   CHECK YES only if demanded in complaint:
      COMPLAINT:        UNDER RULE 23, F.R.Cv.P                                               40~ 0       ©Q a                               JURY DEMAND: ~'es 0No

VIII. RELATED CASE(S)
                      (See tnrtr++ctlmre):
      IF ANY                               JUUDOF,                                                                                     DOCKET NUMBER
DATE                                                                f IGNATU OF ATTORNEY OF RE


 OR OFFICE USE ONLY

   RECEIPT 9                     AMOUNT                                 APPLYING IFP                                     JUDGE'                        MAG. JUDGE


                Case 3:19-cv-00679                          Document 1-1                       Filed 08/06/19                     Page 1 of 1 PageID #: 13
